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 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11   UNITED STATES OF AMERICA,     ) CR-F-05-0240 AWI
                                   )
12                  Plaintiff,     ) ORDER TO CONTINUE
                                   ) MOTION HEARING AND
13                                 ) GOVERNMENT’S RESPONSIVE DATE
               v.                  )
14                                 )
     JUAN GONZALES, et al.,        )    Date: October 2, 2006
15                                 )    Time: 9:00 a.m.
                    Defendant.     )    Courtroom 2
16   ______________________________)
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          IT IS SO ORDERED THAT the date for the hearing on
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     defendant’s Motion to Suppress Evidence be continued from October
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     2, 2006 at 9:00 a.m. to October 16, 2006 at 9:00 a.m. and that
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     the government’s response to defendant’s motion be due on October
21
     2, 2006.
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     IT IS SO ORDERED.
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     Dated:   September 28, 2006              /s/ Anthony W. Ishii
25   0m8i78                             UNITED STATES DISTRICT JUDGE
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